                                                                                 Motion GRANTED.

                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )              No.     3:03-cr-00205-12
       v.                                     )               Judge Trauger
                                              )

BENANCIO PEREZ-SANTANA

                                       MOTION TO DISMISS

        The United States of America, by and through Donald Q. Cochran, United States

 Attorney for the Middle District of Tennessee, and Assistant United States Attorney Brent A.

 Hannafan, hereby moves to dismiss this case with prejudice against defendant Santana-Perez.

       This case was indicted in 2003. It was administratively closed in 2008. The United

States does not have any information on defendant’s location, does not expect he will be

arrested in the near future, and would face challenges in prosecuting this defendant at trial due to

the lapse in time since indictment. Given those circumstances, the United States hereby moves

to dismiss this case with prejudice.
                                                      Respectfully submitted,


                                                      DONALD Q. COCHRAN
                                                      United States Attorney
                                                      Middle District of Tennessee

                                                       /s Brent A. Hannafan
                                                      Brent A. Hannafan
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